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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

     MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


EDWARD BRAGGS, et al.,              )
                                    )
      Plaintiffs,                   )
                                    )      CIVIL ACTION NO.
      v.                            )        2:14cv601-MHT
                                    )
JEFFERSON S. DUNN, in his           )
official capacity as                )
Commissioner of                     )
the Alabama Department of           )
Corrections, et al.,                )
                                    )
      Defendants.                   )

                                 ORDER

    It appears that, because of the complexity of the

issues presented, a Phase 2A Omnibus Remedial Opinion

will not be entered by November 30, 2021, though an end

is in sight.       Accordingly, it is ORDERED that another

status conference is set for December 16, 2021, at 9:00

a.m. by videoconferencing.         If an opinion has been issued

by then, the court will discuss the next steps in the

litigation, and if one has not been, the court will update

the parties as to the status of the litigation, including
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how it is progressing on issuing an opinion, and whether

the parties can help in any way.              The courtroom deputy

shall arrange for the videoconference.

    DONE, this the 29th day of November, 2021.

                                    /s/ Myron H. Thompson
                                 UNITED STATES DISTRICT JUDGE
